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1
     TORRES | TORRES-STALLINGS
2
     A LAW CORPORATION
3    David A. Torres, State Bar No. 135059
     1318 "K" Street
4    Bakersfield, CA 93301
     Tel: (661) 326-0857
5
     email: dtorres@lawtorres.com
6
     Attorneys for Defendant
7    OMAR VAYAS DURAN
8

9                                UNITED STATES DISTRICT COURT

10                             EASTERN DISTRICT OF CALIFORNIA
11

12   UNITED STATES OF AMERICA,                            Case No.: 1:21-cr-00177-NODJ-BAM-2

13   Plaintiff,

14   vs.                                                  STIPULATION AND ORDER TO
                                                          VACATE TRIAL CONFIRMATION AND
15
     OMAR VAYAS DURAN,                                    TRIAL DATE AND RESET THE STATUS
                                                          CONFERENCE DATE
16
     Defendant
17

18   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, THE HONORABLE
19
     BARBARA A. MCAULIFFE, AND KIMBERLY SANCHEZ, ASSISTANT UNITED STATES
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     ATTORNEY:
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22           COMES NOW Defendant, OMAR VAYAS DURAN, by and through his attorney of

23   record, DAVID A. TORRES hereby requesting that the Trial Confirmation date currently set for
24   April 22, 2024, and the Trial date currently set for May 7, 2024, be vacated. Counsel is also
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     requesting that the status conference date currently set for March 27, 2024, at 1:00p.m., be reset
26
     to June 26, 2024, at 1:00pm.
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           Case 1:21-cr-00177-NODJ-BAM Document 95 Filed 03/26/24 Page 2 of 3


1           Counsel has had the opportunity to discuss this matter with AUSA Kimberly Sanchez,
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     both parties have agreed to requesting a 60-day continuance of the status conference and are
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     requesting that the trial confirmation and trial date be vacated. Both parties are in the process of
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     negotiating a disposition in this matter.
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6           The parties also agree the delays resulting from the continuance shall be excluded in the

7    interest of justice pursuant to 18 USC 3161 (h)(7)(A) and 3161 (h)(7)(B)(1) and (IV) because it
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     results from a continuance granted by the Court at defendant’s request on the basis of the Court’s
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     finding that the ends of justice served by taking such action outweigh the best interest of the
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     public and the defendant in a speedy trial.
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13   Dated: March 26, 2024,                                       Respectfully Submitted,
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                                                           /s/ David A. Torres
15                                                         David A. Torres
                                                           Attorney for Omar Vayas Duran
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17
     Dated: March 26, 2024                                 /s/Kimberly Sanchez
18                                                         Kimberly Sanchez
                                                           Assistant United States Attorney
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          Case 1:21-cr-00177-NODJ-BAM Document 95 Filed 03/26/24 Page 3 of 3


1                                               ORDER
2           IT IS SO ORDERED that the Trial Confirmation set for April 22, 2024, and Jury Trial set
3    for May 7, 2024, are vacated. The Status Conference is continued from March 27, 2024, to June
4    26, 2024, at 1:00 p.m. in Courtroom 8 before Magistrate Judge Barbara A. McAuliffe. Time
5    is excluded pursuant to 18 USC § 3161 (h)(7)(A) and § 3161 (h)(7)(B)(1) and (IV).
6

7    IT IS SO ORDERED.
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        Dated:    March 26, 2024                           /s/ Barbara A. McAuliffe            _
9
                                                       UNITED STATES MAGISTRATE JUDGE
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